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 6                            UNITED STATES DISTRICT COURT

 7                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,               No. 2:21-CR-0203-ODW-ALL

 9              Plaintiff,                   ORDER UNSEALING DOCUMENTS

10              v.

11   ABDULRAHMAN IMRAAN JUMA,
       aka “Abdul,”
12     aka “Rahman,”
     KELLY CHIBUZO VINCENT,
13     aka “Vincent Kelly Chibuzo,”
     ABBA ALHAJI KYARI,
14   RUKAYAT MOTUNRAYA FASHOLA,
       aka “Morayo,”
15   BOLATITO TAWAKALITU AGBABIAKA,
       aka “Bolamide,”
16   YUSUF ADEKINKA ANIFOWOSHE,
       aka “AJ,”
17     aka “Alvin Johnson,”

18              Defendants.

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            For good cause shown, IT IS HEREBY ORDERED that the docket in
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     this case, including the complaint, indictment, detention requests,
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     arrest warrants and supporting documents shall be unsealed.
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            IT IS SO ORDERED.
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     July 26, 2021
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     DATE                                    HONORABLE OTIS D. WRIGHT II
26                                           UNITED STATES DISTRICT JUDGE

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